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                        IN THE TJNITED STATES DTSTRICT COURT
                     FORTHE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF       AMERTCA,
                                                     :

        Plaintiff,                                   ;




MELCHOR MARTINEZ,
MELISSA CHLEBOWSKI, JORGE ACOSTA,
NANCY SEIER, PATRICIA EROH,
LEHIGH VALLEY COMMUNITY MENTAL                                Civil Action No, I 1-2756 (LFS)
CENTERS, tNC., NORTHEAST COMMUNITY
MENTAL HEALTII CENTERS, INC.,
CAROLINA COMMI.INITY MENTAL HEALTH
CENTERS, INC,, MM CONSULTANTS, LLC,
And MCM BETHLEHEM PROPERTY,LLC,


       Defendants;



UNITED STATES OF AMERICA ANd STATE OF
NORTH CAROLINA, exrel. KAR-EN SMITH,

       Plaintiffs,

       v.

CAROLINA COMMUNITY MENTAL
HEALTH CENTERS, INC., NORTHEAST
COMMUNITY MENTAL HEALTH CENTERS,
INC,, and LEHIGH VALLEY COMMTJNITY
MENTAL HEALTH CENTERS, INC.,

       Defendants.



                STIPULATION & ORDER OI'JUDGMENT ON CONSENT

       Plaintiff, the United States of Americq through its undersigned counsel, the State of

North Carolina, through its undersigrred counsel, the Relator Karen Smith, through her

undersigned counsel, and the Defendants, Melchor Martinez, Melissa Chlebowski, Lehigh
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 Valley Community Mental Health Centers, lnc. ("Lehigh Valley"), Northeast Community

 Mental Health Centers, Inc. ("Northeast"), Carolina Community Mental Health Centers, Inc.

 ("Carolina"), MM Consultants, LLC, and MCM Bethlehem Properties, LLC (collectively, "the

defendants"), through their undersigred counsel (the United States, North Carolina, the Relator,

and the defendants are together, the "Parties"), stipulate and agree as follows:

        l.      On or about April 20, 201 1, the Relator filed a qui tam action in the United States

District Court for the Eastern District of Pennsylvania captioned USA and State of NC, ex rel.

Smilhv. Carolina Community Mental Health Centers, et al., Civil Action No. l1-2756, pursuant

to the qui tam provisions of the False Claims Act,       3l   U.S.C. $ 3730(b) (the "Civil Action"). The

United States intervened in the Civil Action and filed the United States' Complaint in

lntervention, captioned tlSA v. Martinez, et al.,   ot   or about July 20, 2015 (the "lntervention

Complaint").

        2.      On or about Febnrary 27,2018, the Parties (as defined in the opening paragraph

and nol including defendants Eroh, Acosta, and Seier) agreedto settle all claims asserted against

thern in the Civil Action pursuant to the terms set forth in thc Settlement Agreement attached

hereto as Exhibit A.

        3,      Pursuant to the Settlement Agreement, the defendants agreed to entry of this

Judgment against them, jointly and severally, in the amount of $3 mitlion dollars (three million

dollars), should the defcndants fail to pay the entire Settlement Amount of $800,000 by a date

certain as set forth in the Settlement Agreement.

        4.     The defendants having failed to pay the entire Settlement Amount by the

prescribed date, Judgment is hereby entered against them jointly and severally in lhe amount         of

$3 million dollars.



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          5.       All terms of the Settlement Agreement   are to remain in effect, notwithstanding

entry of this Judgment.

          6.       The defendants consent to the enty of this Judgment agairst them, jointly and

severally, and in favor of the United States and the State of North Carolina, in the amount of $3

million dollars.

          7.       This Judgment may not be avoided pursuant to 1l U.S.C. $ 547.

          8.       This Judgment is non-dischargeable under l1 U.S.C. $ 523(a)(2) and 11 U,S.C.         $


1   141(dX6XA), regardless of whether or not the United States and/or the State of North Carolina

timely files an adversary complaint to esiablish   a claim under I   I U.S.C. $ 523(cXl).
         9.       Any claims, actions, or proceedings brought by the United States and/or the State

of North Carolina to collect this Judgrnent   are not subject to an "automatic stay" pursuant to   1l

U.S.C. $ 362(a)

         10.      The United States and/or the State of North Carolina agree to pay to the Relator

25 percent of any portion of the $3 million dollars that it or they collect from the defendants

pursuant to this Judgment.

         I   L   This Court will retain jurisdiction over this matter until such time as the Judgment

is satisfied in full.




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   WILLIAM M. MCSWAIN                                                CHERTN    & MELLOIT, LLC
   United States Attooey


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                                                  Community Mental Health Center, Inc,, Lehtgh
                                                  Valley Conmunity Mental Health Cenler, Inc,
                                                  Melbsa Chlebovski, and MCM BetN*em
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  Attorneys for Relator Karen Snilh




  RslatorKaren Smith                              On behalf of horself and defcndants Northeast
                                                  Community Mental Health Centers, lrhigh
                                                  Vallcy Community Mental Health Centers,
                                                  Carolina Comrnunity Mental Hcslth Cofiers,
                                                  and MCM Bethlehem Properties




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   Case 5:11-cv-02756-JLS Document 127 Filed 10/23/18 Page 5 of 25




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                                                    C o m nt ut it.t' M e n t a I II e a I t h C e n I e r, I nc., Le h igh
                                                    llalley Communin Mental Heulth Center, lnc.,
                                                    Melissa Chlehotrski. and MCM Bethlehent
                                                    Property LLC


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                                                   Defendant Melissa Chtebou,ski
Relator Karen Srnith                               On behalf of herself and defendants Northeasr
                                                   Community Mental Health Centers, Lehigh
                                                   Valley Comnrunity Mental Health Centers,
                                                   Carolina Cornmunity Mental Health Centers.
                                                   and MCM Bethlehenr Properries




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     Case 5:11-cv-02756-JLS Document 127 Filed 10/23/18 Page 6 of 25




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Auorneysfor the United States dAmerica           Mental Healrt;Centers, Inc., N.ortheast
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                                                 Melissa Chlebowski, and MCM Bethtehem
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STATEOFNORTHCAROLINA                             Pasrnvr+NSreuP"C.



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            fur Relaor Karen Smith
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Attorneys
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     The foregoing Stipulation and Order of Judgment on Consent is hereby APPROVED

AND SO ORDERED on    this23rd day of     October            ,
                                                                2018

                                       BY THE COURT:



                                          /s/ Jeffrey L. Schmehl
                                       Judge, United States District Court




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           EXHIBIT A
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                                SETTLEMENT AGREEMENT

        This Settlement Agreement ('Agreement") is entered into among the United States of

America, acting ttrough the United States Department of Justice and on behalf of the Office      of

Inspector General (OIG-HHS) of the Department of Health and Human Services (HHS) and the

North Carolina Office of the Attomey General (collectively the "Government"); defendants

Melchor Martinez, Melissa Chlebowski, Lehigh Valley Community Mental Health Centers, Inc,

("Lehigh Valley''), Northeast Community Mental Health Centers, Inc. ('Northeast"), Carolina

Community Mental Health Centers, Inc. ("Carolina"), MM Consultants, LLC ("MM

Consultants"), and MCM Bethlehem Properties, LLC ('MCM Bethlehem") (collectively, "the

defendants"); and the Relator Karen Smith (hereafter collectively referred to as "the Parties"),

thmugh their authorized representatives.

                                            RECITALS

       A.      On or about April 20, 201 1, the Relator filed a qui tam action in the United States

District Court for the Eastern District of Pennsylvania captioned USA and State of NC,     ex rel.


Smith v. Carolina Community Mental Health Centers, et al., Civil Action No. I i-2756, pursuant

to the qui tam provisions of the False Claims Act,   3l   U.S.C. $ 3730(b) (the "Civil Action"), The

United States intervened in the Civil Action and filed the United States' Complaint in

Intervention, captioned USA v. Martinez, et al., on or about July 20, 2015 (the "Interyention

Complaint").

       B.      The Government contends that the defendants submitted or caused to be

submitted claims for payment to the Medicare Program, Title XVIII of the Social Security Act,

42 U.S,C. $$ 1395-1395kkk-1 ("Medicare") and the Medicaid Program,42 U.S.C. $$ 1396-

I396w-5 ("Medicaid").
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         C,        The Government contends that it has certain civil claims against the defendants,

 as set forth   in the Civil Action: arising from   (l)    the defendant Melchor Martinez's undisclosed

 managsm€nt of the defendants Northeast, Lehigh Valley, and Carolina (collectively, "the clinic

 defendants"), in violation of his exclusion from federal health c:re programs; (2) the clinic

 defendants' use of unqualified and/or unsupervised mental health therapists; and (3) the

 submission and payment of Medicaid claims for medication management visits of extremely

 short duration. That conduct is referred to below as the "Covered Conduct."

         D.        The Relator claims entitlement under        3   t U.S.C. $ 3730(d)   to a share of the

proceeds of this Settlement Agreement and to Relator's reasonable expenses, attomeys' fees, and

costs.

         E.       This Settlement Agreement is neither an adrnission of liability by the defendants

nor a concession by the Government that its claims are not well founded.

         F.       This Settlement Agreement extinguishes all claims raised in the Civil Action

against the defendants to this Settlement Agreement only- This Settlernent Agreement does not

extinguish any claim not raised in the Civil Action. This Settlement Agreement does not

extinguish any claim against others who are not a party to this Settlement Agreement, including

the defendants Patricia Eroh, Jorge Acosta, and Nancy Seier, who are not                aprty   to this

Settlernent Agreement,

         G.       To avoid the delay, uncertainty, inconvenience, and expense of protracted

litigation of all claims asserted against the defendants in the Civil Action, and in consideration of

the mutual promises and obligations of this Settlement Agreernent, the Parties agree and

covenant as follows:




                                                      ",
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                                     TERMS AND CONDITIONS

           I.    The defendants shall pay to the Government $800,000 ('Settlement Amounf'), all

 of which is restitution, no later than September    27   ,2018, by electronic funds transfer pursuant to

 written instructions to be provided by the United States Attorney's Office for the Eastern District

 of Pamsylvania. Each defendant shall      be   jointly and severally liable for the entire Settlement

 Amount-

           2.    If the defendants fail to pay   the Settlement Amount in its entirety on or before

 September 27,2018, the Government may           file with the Court the attached Stipulation & Order of

Judgment on Consent ("Consent Judgment") against the defendants, jointly and severally, in the

amount of $3 rnillion dollars (Three Million Dollars). The Government agrees to notify the

defendants in   writing provided to their counsel via electronic mail two weeks prior to filing the

Consent Judgment with the Court that the Covemment intends to file the Consent Judgment             if
the defendants fail to pay the Settlement Amount in its entirety within two weeks of the

transmission of such notice.

        3.      If   at the conclusion of the two weck notice period the defcndants have not paid

the entire Settlement Amount to the Goverrunent, the Govemment may file with the Court the

Consent Judgment at any time, without providing any further notice to the defendants.

        4.      The defendants agree that they will not contest or oppose the entry of the Consent

Judgment.

       5.       Pursuant to 31 U.S.C. $ 3730(d), the Government agrees to pay to the Relator, by

electronic funds transfer, 25 percent of the Settlernent Arnount as soon as feasible after receipt.

       6.       If the Consent Judgment is entered, the Goverrunent shall pay 25 percent of the

proceeds of any funds collected on the Consent Judgment to the Relator, pursuant to 31 U.S.C.            $


3730(d).



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        7.      Subject to the exceptions in Paragraph 9 below, and conditioned upon the

 defendants' full payment of the Settlernent Amount or entry of the Consent Judgment, the

 Govsmment releases the defendants who are signatories to this Settlement Agreement

(including, for the entity defendants Notheast, Lehigh Valley, Carolina, MM Consultants, and

MCM Bethlehem, its current and/or former owners and anployees) from any civil or

administrative monetary claim the Government has for the Covered Conduct under the False

Claims Act, 31 U.S.C. $$ 3729-3733; the Civil Monetary Penalties Law,42 U.S.C. $ 1320a-7a;

and the Program Fraud    Civil Remedies Act,31 U.S.C. $$ 3801-3812.

        8.      Subject to the exceptions in Paragraph 9 below, and conditioned upon the

defendants' full payment of the Settlement Amount or entry of the Consent Judgment, Relator,

for herself and for her heirs, successors, attomeys, agents, and assigtr.s, releases the defendants

from any civil monetary claim the relator has on behalf of the Govemment for the Covered

Conduct under the False Claims Act, 31 U.S,C. $$ 3729-3733.

       9.       Notwithstanding the release given in paragraphs 8 and 9 of this Settlement

Agreement, or any other term of this Settlement Agreernent, the following claims of the

Govemment are specifically reserved and are not released:

       a.      Any liability arising under Title 26, U.S. Code (lnternal Revenue Code);

       b.      Any criminal liability;

       c.      Except as explicitly stated in this Settlement Agreement, any administrative

liability, including mandatoryor permissive exclusion from Federal health care programs;

       d.      Any liability to the Government (or its agencies) for any conduct other than the

Covered Conduct;

       e.      Any liability based upon obligations created by this Settloment Agreernent;




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         f.      Any liability of any person other than the defendants         as   defined in the opening

 paragraph of this Settlement Agreement;

         10.     Relator and her heirs, successors, attomeys, agents, and assigns shall not object to

 this Settlement Agreement but agree and confirm that this Settlement Agreement is fair,

 adequate, and reasonable under all the circumstances, pursuant to        3l   U,S.C. $ 3730(cX2XB),

 Conditioned upon Relator's receipt of the payment described in Paragraphs 5 and 6 above,

Relator and her heirs, successors, attomeys, agents, and assigns fully and finally release, waive,

and forever discharge the Government, its agencies, ofEcers, agents, ernployees, and servants,

from any claims arising from the filing of the Civil Action or under       3l U.S.C.       $ 3730, and from

any claims to a share of the proceeds of this Agreement and/or the Civil Action.

        I   l.   Relator, for hersclfand for her heirs, successors, attorneys, agents, and assigns,

releases the defendants, and its officers, agents, and ernployees, from any           liability to Relator

arising from the Eling of the Civil Action, or under   3   t   U.S.C. $ 3730(d) for expenses or

attomey's fees and costs.

        12.      In compromise and settlement of the rights of OIG-HHS to exercise its authonty

to exclude pursuant to 42 U.S.C. $ 1320a-7(b)(7), defendant Melissa Chlebowski agrees to be

excluded under this statutory provision from Medicare, Medicaid, and all other Federal health

care programs, as defined in 42 U.S.C. $ 1320a-7b(0, for a period of 5 years. The exclusion shall

be effective six months from March 27,2A18.

        13.      In compromise and settlement of the rights of OIG-HHS to exercise its authority

to exclude pursuant to 42 U.S.C. $ 1320a-7(b)(7), defendants Northeast Community Mental

Health Centers, Ino., Lehigh Valley Community Mental Health Centers, Inc., and Carolina

Comrnunity Mental Health Centers, Inc. (collectively, "the clinics"), agree to be excluded under

this statutory provision from Medicare, Medicaid, and all other Federal health care prlgr.rms,               as




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 defined in 42 U.S.C. g 1320a-7b(0, for a period of 5 years, The exclusion shall be effective six

months from March 27,2018.

        14.     In compromise and settlement of the rights of OIG-HHS to exercise its authority

to exclude pursuant to 42 U.S,C. $ 1320a-7(b)(7), defendant Melchor Martinez agrees to be

excluded under this statutory provision from Medicare, Medicaid, and all other Federal health

care programs, as defined in 42 U.S.C. $ 1320a-7b(f), for a period   of l0 years. Defendant

Melchor Martinez is presently excluded. The additional lO-year exclusion shall be effective six

months from March 27,2078.

        15.     The exclusions set forth above shall have nationat effect. Federal health care

programs shall not pay anyone for items or services, including administrative and management

services, furnished, ordered, or prescribed by Melchor Martinez, Melissa Chlebowski, or the

clinics in any capacity while they are excluded. This payment prohibition applies to Martinez,

Chlebowski, the clinics, and ali other individuals and entities (including, for example, anyone

who employs or contracts with them, and any provider where they provide services). The

exclusion applies regardless of who submits the claim or other request for payment. Violation     of

the conditions of the exclusion may result in criminal prosecution, the imposition of civil

monetary penalties and assessments, and an additional period of exclusion, Martine4

Chlebowski, and the clinics further agree to hold the Federal health care programs, and all

federal beneficiaries and/or sponsors, harmless from any financiai responsibility for items or

services fumished, ordered, or prescribed to such beneficiaries or sponsors after the effective

date of the exclusion. Martinez, Chlebowski and the clinics waive any further notice of the

exclusion and agree not to contest such exclusion either administratively or in any state or

fderal court.




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        16.     Reinstatement to program participation is not automatic, If Martinez, Chlebowski

or the clinics wish to be reinstated, each must submit a written requcst for reinstaternent to the

OIG in accordance with the provisions of 42 C.F.R. $$ 1001.3001-.3005, Such request may be

made ro the OIC no earlisr than 120 days prior to the expiration of the S-year or 10-year period

of exclusion. Reinstatement becomes effective upon application, approval of the application by

the OIG, and notice of reinstaternent by the OIG. Obtaining another license, moving to another

state, or obtaining a provider number from a Medicare contractor, a state agency, or a Federal

health care program does not reinstate Martinez's, Chlebowski's, or the clinics' eligibility to

participate in these programs.

        17.    The defendants waive and shall not assert any defenses the defendants may have

to any criminal prosecution or administrative action relating to the Covered Conduct that may be

based in whole or in part on a contention that, under the Double Jeopardy Clause in the Fifth

Amendment of the Constitution, or under the Excessive Fines Clause in the Eighth Amendment

of the Constitution, this Settlernent Agreement bars a nemedy sought in such criminal

prosecution or administrative action. Nothing in this paragraph or any other provision of this

Settlement Agreement constitutes an agreement by the Government concerning the

characterization of the Settlement Amount for purposes of the Internal Revenue laws, Title 26        of

the United States Code.

       18.     Defendants fully and finally release the Govenrment, its agencies, officers, agents,

ernployees, and servants, from any claims (including attorney's fees, costs, and expenses   of

every kind and howevsr dcnominated) that they have asserted, could have asserted or may assert

in the future against the Government, and its agencies, ofEcers, agents, ernployees, and servants

related to the Covered Conduct and the Govemment's investigation and prosecution thereof.




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        19.     The Settlement Amount shall not be decreased as a result of the denial of claims

 for payment now being withheld from payment by any Medicare contractor (e.g., Medicare

Adminishative Contractor, fiscal intermediary, carrier) or any state payer; and the defendants

agree not to resubmit to any Medicare contractor or any state payer any previously denied

claims, agree not to appeal any such denials of claims, agree to withdraw any such pending

appeals, and agree not to seek payment of any suspended or withheld Medicaid payments, if any.

Notwithstanding this provision, any amounts collected by way of Medicare payment suspension

from February 27,2018, until the defendants pay the entire Settlement Amount may be applied

as a set-off to the Settlernent Amount, up to $75,000.


        20.    Until such time   as   the defendants pay to the Government the entire Settlement

Amount of $800,000, the defendants agrce not to sell, transfer, dispose of or place any

encumbrance upon any real property they own, including all properties identified in their

financial disclosures, without seeking and obtaining permission from the Court. Excepted from

this provision are the three parcels located at 910 East 4th Street, Bethlehem; 3801-3805 North    5th


Street, Philadetphia; afi2935-2937 N. 5s Street, Philadelphia, which defendants intend to sell to

obtain funds to pay the Settlement Amount.

        21.    Defendants agrec to thc following:

               a.      Unallowable Costs Defined: All costs (as defined in the Federal

Acquisition Regulation, 48 C.F.R. $ 31.205-47; and in Titles    XVIII   and   XIX of the Social

Security Act,42 U-S.C. $$ 1395-1395kkk-l and 1396-1396w-5; and the regulations and official

program directives promulgated thereunder) incurred by or on behalf of the defendants, its

present or former ofEcers, directors, ernployees, shareholders, and agents in connection with:

               (l)    the matters covered by this Settlernent Agreernent;




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                (2)     the Government's audit(s) and   civil investigation(s) of the matters covered

                        by this Settlemsnt Agreement;

                (3)     The defendants' investigation, defense, and corrective actions undertaken

                        in response to the Government's audit(s) and civil investigation(s) in

                        connection with the matters covered by this Settlement Agreement

                        (including attorney's fees);

                (4)     the negotiation and performance of this; and


                  )     the payment the defendants make to the Government pursuant to this

                        Settlement Agreement;

are unallowable costs for government contracting purposes and under the Medicare Program, and

Medicaid Program (hereinafter referred to as Unallowable Costs),

                b.      Future Treatment of Unallowable Costs: Unallowable Costs shall be

separately determined and accounted for by the defendants and the defendants shall not charge

such Unallowable Costs directly or indirectly to any contracts with the Government or any State

Medicaid program, or seek payment for such Unallowable Costs through any cost report, cost

statement, information staternent, or payment request submitted by the defendants or any of its

subsidiaries or affiliates to the Medicare or Medicaid Programs.

                c.     Treatment of Unallowable Costs Previouslv Submitted for Paymcot: the

defendants further agrees that within 90 days of this Settlement Agreernent being fully executed,

they shall identify to applicable Medicare fiscal intermediaries, carriers, and/or contractors, and

Medicaid fiscal agents, any Unallowable Costs (as defined in this Paragraph) included in

payments previously sought from the Government, or any State Medicaid program, including,

but not limited to, payments sought in any cost reports, cost statements, information reports, or

payment requests already submitted by the defendants or any of its subsidiaries or affiliates, and



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 shall request, and agree, that such cost reports, cost statements, information reports, or payment

 requests, even ifalready settled, be adjusted to account for the effect ofthe inclusion ofthe

 Unallowable Costs. The defendants agree that the Government, at      a   minimum, shall be entitled

 to recoup from the defendants any overpayment plus applicable interest and penalties as a result

 of the inclusion of zuch Unallowable Costs on previously-submitted cost reports, information

 reports, cost statements, or requests for payment.

        Any payments due after the adjustments have been made shall be paid to the Covemment

 pursuant to the direction of the Department of Justice and/or the affected agencies- The

Covemment reserves its rights to disagree with any calculations submitted by the defendants or

any of its subsidiaries or affiliates on the effect of inclusion of Unallowabls Costs (as defined in

this Paragraph) on the defendants or any ofits subsidiaries or afftliates' cost reports, cost

statements, or information reports.

                d.      Nothing in this Settlement Agreement shall constitute a waiver of the

rights of the Governrnent to audit, ex&mine, orre-examine the defendants' books and records to

determine that no Unallowable Costs have been claimed in accordance with the provisions of this

Paragraph.

        22.     This Setttement Agreement is intended to be for the benefit of the Parties only.

The Parties do not release any clairns against any other person or entity, except to the extent

provided for in Paragraph23 (waiver for beneficiaries paragraph), beiow.

        23.   The defendants agree that thcy waive and shall not seek payment for any of the

health care billings from any health care beneficiaries or their parents, sponsors, legally

responsible individuals, or third party payors for any services rendered to Medicare, Medicaid, or

other program benefi ciary.




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        24,       Upon receipt of payment of ths Settlement Amount of $800,000 described in

Paragraph   l,   above, the Parties shall promptly sign and file in the Civil Action a Joint Stipulation

of Dismissal of the defendants who are sigrratories to this Settlement Agreement.

        25.       In the event that the defendants fail to pay the entire Settlement Amount within

the time prescribed in Paragraph 2, above, the Parties agree that the Court     will   retain jurisdiction


of the $3 million dollar Consent Judgment to be entered against the defendants.

        26.       The parties shall bear their own legal and other costs incurred in connection with

this matter, including the preparation and performance of this Settlement Agreement.

        27,       Each party and signatory to this Settlernent Ageement rspresents that it freely

and voluntarily enters in to this Settlernent Agfeement without any degree of duress or

compulsion.

        28.       This Settlernent Agreement is governed by the laws of the United       States. The


exclusive jurisdiction and venue for any dispute relating to this Settlement Agreernent is the

United States District Court for the Eastern District of Pennsyivania. For pulposes of construing

this Settlement Agreernent, this Agreement shall be deffned to have bcen drafted by all Parties to

this Agreernent and shall not, therefore, be construed against any Party for that reason in any

subsequent dispute.

        29.       This Settlement Agreement constitutes the complete agreement between the

Parties, This Agreement may not be amended except by written consent of the Parties.

       30.        The undersigned counsel represent and warrant that they are firlly authorized to

execute this Settlement Agreement on behalf of the persons and entities indicated below.

       31.        This Settlement Agreement may be executed in counterparts, each of which

constitutes an original and all of which constitute one and the same Agfeement.




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        32.     This Settlement Agreement is binding on the defendants' successoa, transferees,

heirs, and assigrls.

        33.     All parties   consent to the Government's disclosure of this Settlement Agreement,

and information about this Settlement Agreemont, to the public.

        34.     This Settlement Agreement is effective on the date of signature of the last

signatory to the Agreement (Effective Date of this Agreement), €xcept as otherwise set forth

above. Facsimiles and electronic transmissions of signatures shall constitute acceptable, binding

signatures for purposes of this Agree'lnent.




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     Case 5:11-cv-02756-JLS Document 127 Filed 10/23/18 Page 21 of 25



                     THE UNITED STATES OF AMERICA


DATED: ioitz/ i8      BY
                                WILLIAM M. McSWAN
                                United States Attorney


DATED:                BY                                 J

                                Assistant United




DATED:                BY
                                                        FULLMER
                                                       Attorney
                                                    Division



DATED:   i..I t6      BY
                                            AMOROSA
                                          D. PARKER
                                Assistant United States Attomeys


DATED:                BY
                                LISA M. RE
                                Assistant Inspector General for Legal Affairs
                                Office of Counsel to the Inspector General
                                Office of Inspector General
                                United States Department of Health and Human Services




                      THE STATE OF NORTH CAROLINA



DATED                      BY
                                CHARLES H. HOBGOOD
                                Special Deputy Attorney General
                                Director, North Carolina Medicaid Investigations Division




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    Case 5:11-cv-02756-JLS Document 127 Filed 10/23/18 Page 22 of 25




                    THE UNITED STATES OF AMERICA


DATED                BY
                                WILLIAM M. MCSWAIN
                                United States Attomey


DATED:               BY:
                                GREGORY B. DAVID
                                Assistant United States Attomey
                                Chief, Civil Division


DATED:               BY:
                                CHARLENE KELLER FULLMER
                                Assistant United States Attorney
                                Deputy Chief, Civil Division




DATED:               BY
                                JUDITH A. AMOROSA
                                VIVECA D. PARKER
                                Assistant United States Attorneys



DATED:   pI   bI8    BY:                       l?.r*
                                      M. RE
                                Assistant Inspector General for Legal Affairs
                                Office of Counsel to the Inspector General
                                Office of Inspector General
                                United States Department of Health and Human Services




                     THE STATE OF NORTH CAROLINA



DATED:-                   BY:
                                CHARLES H. HOBGOOD
                                Special Deputy Attorney General
                                Director, North Carolina Medicaid Investigations Division




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   Case 5:11-cv-02756-JLS Document 127 Filed 10/23/18 Page 23 of 25




                        THE LINITED STATES OF AMERICA


DATED:                   BY
                               WILLIAM M. McSWAIN
                               Unitd   States Attomey



DATED:                   BY
                               GREGORY B. DAVID
                               Assistant Unitd States Attorney
                               Chiee Civil Division


DATED:                   BY
                               CHARLENE KELLER FT,ILLMER
                               Assistant United States Attorney
                               Depuff Chief, Civil Division



DATED:                   BY:
                               JI.JDMH A. AMOROSA
                               WYECA D. PARKER
                               Assistant United States Attorneys


DATED:                   BY
                               LISA M. RE
                               Assistant krspector General for Legal Affairs
                               Office of Counsel to the Inspector General
                               Office of Inspector General
                               United States Departnent of Health and Human Services




                         THE STATE OF NORTH CAROLINA



DATED.   /a/g /   >,9
                               cHARLEsH.noscoF
                               Special Deputy Attorney General
                               Director, North Carolina Medicaid Investigafions Division




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                                          PA 1711G1250
                           Tele: (71
                           Att orneys   fot Relator K@en Smith

DATED:   * l'o{''    BY:




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Case 5:11-cv-02756-JLS Document 127 Filed 10/23/18 Page 25 of 25




                                          THEDEFENDANTS

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                                       Inc,, Lehigh Valley Community Mental Health Center, Inc.,
                                       Melissa Chlebowskl, and MCM Bethlehem Property, LLC


                                 PnsrnaeN                     Hn        P.C.

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                                       21 Main Steet, Suite 200
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                                       Phone: 20I-48t-8200
                                       Auorneysfor Defendants Melchor Marttnez and     MM
                                       Consultarxs, LLC




 DATED:    tofrf zotg            BY
                                       Defondant Melchor Martinez
                                       Onbehalf of himself and defendant
                                       MM Consultants


DATED:    16
                      'ztl   b   By,
                                                           Chlebowski
                                       On behalf of herself and defendants Northeast
                                       Commrurity Mental Health Centers, Lehigh Valley
                                       Community Mentai Health Centers, Carolina
                                       Community Mental Health Centers, and MCM
                                       Bethlehem Properties




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